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 1   SCOTT N. CAMERON
     Attorney at Law
 2   1007 7th Street, Suite 319
     Sacramento, California 95814
 3   Telephone: (916) 442-5230
 4   Attorney for:
     LATROY CUNNINGHAM
 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,          )    CASE NO.    2:12-cr-00169-MCE
                                      )
12                    Plaintiff,      )    STIPULATION AND ORDER CONTINUING
                                      )    STATUS CONFERENCE
13        v.                          )
                                      )
14 LATROY CUNNINGHAM, et al.,         )
                                      )    DATE: February 21, 2013
15                    Defendants.     )    TIME: 9:00 a.m.
                                      )    COURT: Hon. Morrison C. England
16
                                    Stipulation
17
          The government and defendant LATROY CUNNINGHAM, through
18
     undersigned counsel, stipulate that the status conference, scheduled
19
     for February 21, 2013, may be continued to April 11, 2013, at 9:00 a.m.
20
     Attorney Scott Cameron subst ituted in as attorney of record for Mr.
21
     Cunningham on November 16, 2012.      This case involves thousands of
22
     recorded wiretap calls and voluminous discovery.        As such, the
23
     additional time requested in this stipulation is necessary so the
24
     defense counsel can continue review of the discovery and conduct
25
     investigation.
26
          Further, both parties agree and stipulate that the ends of justice
27
     served by granting this continuance outweigh the best interests of the
28

                                          1
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 1 public and the defendant in a speedy trial.          As such, the parties agree
 2 that time may be excluded from the speedy trial calculation under the
 3 Speedy Trial Act for counsel preparation,            pursuant to 18 U.S.C. §
 4 3161(h)(7)(B)(iv) and Local Code T4.
 5        The prosecutor has authorized the defense counsel for Latroy
 6 Cunningham to sign this stipulation on his behalf.
 7
 8 DATED: February 19, 2013                    BENJAMIN WAGNER
                                               United States Attorney
 9
                                      by       /s/ Scott N. Cameron, for
10                                             Jason Hitt
                                               Assistant U.S. Attorney
11
     DATED: February 19, 2013
12                                    by       /s/ Scott N. Cameron
                                               Scott N. Cameron
13                                             Counsel for Latroy Cunningham
14
15                                      ORDER
16        Good cause appearing, the status conference, scheduled for
17 February 21, 2013, is continued to April 11, 2013, at 9:00 a.m.             The
18 Court finds that the ends of             justice served by      granting this
19 continuance outweigh the best interests of the public and the defendant
20 in a speedy trial in this case.         Time is excluded from the speedy trial
21 calculation pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
22 T4 for counsel preparation.
23
24        IT IS SO ORDERED.
25
26 DATED: February 21, 2013
27                                    _____________________________________________
28                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                      UNITED STATES DISTRICT JUDGE




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